      Case: 3:08-cr-00089-MPM-SAA Doc #: 51 Filed: 04/30/09 1 of 1 PageID #: 174




                               United States District Court
                  NORTHERN DISTRICT OF MISSISSIPPI
UNITED STATES OF AMERICA
v.                                      EXHIBIT LIST (Sentencing Hearing)
JEFFREY ROGERS                          CAUSE NUMBER: 3:08cr89
Presiding Judge:        Attorneys for the Government:                     Attorney for Defendant:
Michael P. Mills        Kathleen Monaghan                                 Christi McCoy
HEARING                 Court Reporter:                                   Courtroom Deputy:
DATE:                   Rita Sisk                                         Sallie Wilkerson
4/30/09
Pl.      Dft.         Date      m   a                               Description of Exhibits
                     offered

         1         4/30/09      X   X     Certificate of Training - Jeffrey Rogers, 10/14/2006
